     Case 1:23-mi-99999-UNA Document 2835-2 Filed 09/01/23 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

OSCAR BARNES and                         )
GWENDOLYN BARNES,                        )
                                         )
       Plaintiffs,                       )   CIVIL ACTION
                                         )   FILE NO. ____________
v.                                       )
                                         )   [On removal from the Superior Court
STATE FARM FIRE AND                      )   of Gwinnett County, Civil Action File
CASUALTY COMPANY,                        )   No. 23-A-06462-6]
A foreign corporation,                   )
                                         )
       Defendant.

                                CERTIFICATE

      WE HEREBY CERTIFY that we are counsel for Defendant STATE FARM

FIRE AND CASUALTY COMPANY in the above-styled proceeding and have this

day filed a copy of a “Notice of Removal,” including the “Notice of Filing

Removal,” in the Superior Court of Gwinnett County, Georgia, the Court from which

said action was removed.

      This 1st day of September, 2023.


                                     SWIFT, CURRIE, McGHEE & HIERS, LLP

                                     /s/ Christopher A. Wood
                                     Alex A. Mikhalevsky, Esq.
     Case 1:23-mi-99999-UNA Document 2835-2 Filed 09/01/23 Page 2 of 4




                                       Georgia Bar No. 711188
                                       Christopher A. Wood, Esq.
                                       Georgia Bar No. 272768
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                                       and Casualty Company

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     Case 1:23-mi-99999-UNA Document 2835-2 Filed 09/01/23 Page 3 of 4




                   LOCAL RULE 5.1C CERTIFICATION

      By signature below, counsel certifies that the foregoing pleading was prepared

in Times New Roman, 14-point font in compliance with Local Rule 5.1C.

      Respectfully submitted this 1st day of September, 2023.

                                       SWIFT, CURRIE, MCGHEE & HIERS

                                       /s/ Christopher A. Wood
                                       Alex A. Mikhalevsky, Esq.
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        Case 1:23-mi-99999-UNA Document 2835-2 Filed 09/01/23 Page 4 of 4




                           CERTIFICATE OF SERVICE

         I have this day electronically filed the foregoing CERTIFICATE with the

Clerk of Court using the CM/ECF System. The clerk will serve opposing counsel

as follows:

                               J. Remington Huggins
                                 Michael D. Turner
                         THE HUGGINS LAW FIRM, LLC
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                            remington@lawhuggins.com
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                               Attorneys for Plaintiffs

         This 1st day of September, 2023.

                                        SWIFT, CURRIE, McGHEE & HIERS, LLP

                                        /s/ Christopher A. Wood
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